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3-14~Message Page: 1

 

7 3-14-2017 Voicemail (ends abruptly)

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25 Transcribeed by: Dana Anderson-Linnell

 

 

 

 

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3-14-Message Page: 2
l MS. SORIERO: Hey, Steve, give me a
2 Call. l spoke to a lawyer. A few things, but
3 however. Also what l wanted to point out is
4 that Kirk's job is broken into Robert
5 [unintelliqible] and Anthony Peterson, who
6 Anthony Peterson all of a sudden from -- from
7 nothing became an EEO, a person, point person,
8 meanwhile he does football pools and fantasy
9 football pools with all the quys. And he's not
10 a person to go EEO because -~
ll (Audio ends abruptly.)
12 ‘k~)c***~k~)r~k*`k*****
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3-14-Message Page: 3
1 REPORTER'S CERTIFICATE
2
STATE OF MINNESOTA )
3 ) ss-
COUNTY OF HENNEPIN )
4
1 hereby certify that l transcribed the
5 foregoing audio recording on June l, 2017, in Maple
Grove, Minnesota;
6
7 That the audio recording was transcribed by
me and is a true record of the proceedings;
8
9 That the cost of the original has been
charged to the party who ordered the transcription,
19 and that all parties who ordered copies have been
charged at the same rate for such copies;
11
12 That 1 am not a relative or employee or
attorney or counsel of any of the participants, or a
13 relative or employee of such attorney or counsel;
l 4
That l am not financially interested in the
15 action and have no contract with the parties,
attorneys, or persons with an interest in the action
16 that affects or has a substantial tendency to affect
l my impartiality;
7
l 8
19 WITNESS MY HAND AND SEAL THIS lst day Of
June, 2017.
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;\ , - 1 ,_ ,
22 aer ,§&>_;f;£/;/M/
2 3
24 Dana S. Anderson-Linnell
Notary Public, Hennepin County, MN
25 My commission expires 1/31/2020
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